
702 S.E.2d 63 (2010)
STATE of North Carolina,
v.
Michael Wayne SHERRILL.
No. 246A09.
Supreme Court of North Carolina.
September 7, 2010.
Katherine Jane Allen, Durham, for Sherrill.
Clayton Jones, Assistant District Attorney, for State of NC.

ORDER
The motions filed by defendant with this Court on 10 August 2010 are determined as follows:
1. Defendant's Motion to Dismiss Appellant's Motion Filed in this Court Under the North Carolina Racial Justice Act Without Prejudice to File a Motion Under the Racial Justice Act in Post-Conviction Proceedings If Appellant Is Not [ ] Granted Relief on Direct Appeal is DISMISSED.
2. Defendant's Motion in the Alternative to Remand to the Superior Court of Mecklenburg County for an Evidentiary Hearing and Other Proceedings is DISMISSED.
3. Defendant's Motion for Appropriate Relief Pursuant to the Racial Justice Act is DISMISSED WITHOUT PREJUDICE.
Further proceedings in defendant's appeal before this Court are stayed until after the trial court's hearing and determination of defendant's Motion for Appropriate Relief Pursuant to the Racial Justice Act filed in Superior Court, Mecklenburg County.
By order of the Court in Conference, this 7th day of September 2010.
